                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA

MARIO E. CASTRO, MAGDALENA CASTRO,
                                                        Case No. 3:20 CV 00264
                      Petitioner,
       v.

THE BANK OF NEW YORK MELLON, CHARLES
W. SCHARF, AKERMAN LLP, NATSAYI
MAWERE, JOSEPH DEFAZIO, NEWREZ LLC
D.B.A. SHELLPOINT MORTGAGE SERVICING,
JACK NAVARRO, REAL TIME SOLUTIONS,
ERIC C. GREEN, BANK OF AMERICA
CORPORATION, BRIAN MOYNIHAN,


                      Respondents.

      RESPONDENTS THE BANK OF NEW YORK MELLON'S, SHELLPOINT
     MORTGAGE SERVICING'S AND AKERMAN LLP'S OPPOSITION TO THE
          CASTROS' MOTION FOR RECONSIDERATION OF ORDER

       The respondents The Bank of New York Mellon as Trustee for the Certificate Holders of

CWALT Inc., Alternative Loan Trust 2006-OA11 Mortgage Pass Through Certificates, Series

2006-OA11 f/k/a The Bank of New York (BoNYM), Shellpoint Mortgage Servicing, and

Akerman LLP, oppose Mario E. Castro's and Magdalena Castro's "Motion for Relief from May

19, 2020 Judgment, Order, or Proceeding under Fed. Rule 60(b)(1)(2)(4) & (6)" (Dkt. 23) filed

on May 18, 2021.

                                       BACKGROUND

       The Castros have sued the respondents in the Eastern District of New York and this

Court, alleging an arbitration agreement between the parties and an arbitration award in favor of

the Castros. After their cases were dismissed in each court, the Castros appealed to the Second

Circuit Court of Appeals and Fourth Circuit Court of Appeals, respectively. All four courts

have, on numerous occasions, decided the Castros are not entitled to any recovery. This Court

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first dismissed this action by order dated May 19, 2020. After an unsuccessful appeal and an

unsuccessful motion to reconsider, the Castros now bring a motion for relief from the judgment

364 days after the original dismissal, with no new facts or reason to grant them this extraordinary

relief.

          Mr. Castro sued BoNYM and Shellpoint almost four years ago, on July 25, 2017, in the

United States District Court for the Eastern District of New York, case number 17-04375,

alleging violations of federal law when BoNYM owned, and Shellpoint serviced, Mr. Castro's

mortgage loan. A copy of the civil docket for this case is attached as Exhibit A.

          In opposition to a motion to dismiss the Eastern District of New York complaint, Mr.

Castro alleged the parties had agreed to arbitrate their dispute. A copy of the order dismissing

Mr. Castro's complaint, dated July 22, 2019, is attached as Exhibit B. In its order dismissing the

complaint, U.S. District Judge Joanna Seybert explained:

       Plaintiff has attached documents which he claims demonstrate that he and Defendants
       have an agreement where arbitration is the exclusive remedy and thus moves to compel
       it. These documents are not signed by Defendants and Defendants dispute any alleged
       agreement to arbitrate. (Def. Reply at 2, 4.) They are largely incoherent and appear to
       have been created by Plaintiff. The Court finds that these documents do not constitute an
       agreement to arbitrate Plaintiff's claims and, accordingly, it will not stay the proceedings
       or send the matter to arbitration.
(Ex. B, at 8.)

          Mr. Castro moved to vacate this judgment, again asserting the existence of an agreement

to arbitrate and a valid arbitration award. (Ex. A, at 8 (dkt. no. 48).) Judge Seybert denied this

motion, observing:

          As he did in his papers on the motion to dismiss, Castro argues that there is a valid and
          binding arbitration agreement between him and the Defendants. He submits much of the
          same paperwork in support. This Court has already ruled on the issue, holding that
          "[t]hese documents are not signed by Defendants and Defendants dispute any alleged
          agreement to arbitrate. They are largely incoherent and appear to have been created by
          Plaintiff. The Court finds that these documents do not constitute an agreement to

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       arbitrate Plaintiffs claims . . ." (D.E. 46 at 8). Plaintiff has thus not raised any issues of
       fact or law such that this Court should grant him the extraordinary relief sought.
       Accordingly the motion is DENIED.
(Ex. A, at 9.)

       Undeterred, the Castros filed this action. This Court held, on May 19, 2020, "Petitioners

are attempting to enforce a non-existent arbitration award, as no binding arbitration agreement

exists between the parties." [Dkt. no. 9, at 1.]

       The Castros moved to reconsider the May 19, 2020 dismissal order on June 17, 2020.

This Court denied the motion to reconsider on July 10, 2020, stating, "The Court denies the

motion, as Respondents have shown in their initial response to the initial application to confirm

arbitration award and in their response to the motion for reconsideration that there is no binding

arbitration award between the parties." [Dkt. no. 17, at 1.]

       The Castros also appealed the denial of their motion to reconsider, which appeal is

currently docketed at number 20-1874, in the Fourth Circuit. [Dkt. no. 18.] The Fourth Circuit

dismissed the Castros' appeal as untimely by order filed on February 25, 2021. A copy of the

order dismissing the appeal is attached as Exhibit C. The Castros filed a petition for rehearing,

which is now pending.

       The Castros again argue there was an agreement to arbitrate and they are owed an

arbitration award. Their latest motion does not provide any support for the radical relief they

seek and should be denied.

                                      LEGAL ARGUMENT

       A court may relieve a party from a judgment for (1) mistake, inadvertence, or excusable

neglect, (2) newly discovered evidence, (3) fraud, (4) a void judgment, (5) the judgment has been

satisfied; released or discharged, or (6) any other reason that justifies relief. FRCP 60(b). If a

motion for relief cannot be granted under a specific enumerated reason, relief can be granted


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under FRCP 60(b)(6) only in extraordinary circumstances. Aiken v. Ingram, 652 F.3d 496, 500

(4th Cir. 2011.) Generally, FRCP 60(b) provides for extraordinary relief and is only invoked

upon exceptional circumstances. Ferguson v. U.S., 186 F.R.D. 340, 341 (W.D.N.C. 1999).

Although a motion for relief from a judgment under FRCP 60(b)(1)-(3) must be filed within one

year, the motion must be made in a reasonable time, and in the Fourth Circuit Court of Appeals

FRCP 60(b) motions have been denied when filed as little as two and one-half months after entry

of the judgment or order from which relief was sought. See Clayton v. Ameriquest Mortg. Co.,

388 F.Supp.2d 601, 606 (M.D.N.C. 2005) (collecting cases). The movant bears the burden of

showing timeliness and must offer a satisfactory explanation for any delay. Id.

A.     THERE WAS NO AGREEMENT TO ARBITRATE.

       The Court should not revisit its judgment because that judgment is correct—there was no

agreement to arbitrate between the parties. The Castros contend this Court exceeded its authority

by holding there was no arbitration agreement. [Dkt. no. 23, at 5 ("[This action] is not a request

for the court to override the contract and the arbitrator's decision that the contract is valid and

binding which they have no authority to do as that authority is not delegated to them by the terms

and provision of the contract nor it [sic] arbitration clause."); see also id., at 15 (“This court has

no jurisdiction to overrule what the arbitrator has already determined as the contract does not

authorize the court that authority.").] The Castros further state the Court's "opinions" are "just . .

. personal opinions . . . . They have no force in law in this instance and no relevance to the issue

and conflicts with the Arbitrators findings." [Id. at 17.] The Castros argue that the Court was

not to decide whether there was a "binding contract," but rather, whether there was any challenge

to the arbitration award. [Id. at 18.] They also argue the agreement to arbitrate was a "unilateral




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performance" contract and so does not require the other parties' signatures. [Id., at 11.] This is

all wrong.

       "Whether a party agreed to arbitrate a particular dispute is an issue for judicial

determination to be decided as a matter of contract." Johnson v. Circuit City Stores, 148 F.3d

373, 377 (4th Cir. 1998). This Court is well within its jurisdiction to determine whether an

agreement to arbitrate exists.

       The Castros wrongly contend there was an agreement to arbitrate. First, whether the

parties have agreed to arbitrate a dispute is a matter of contract law, in which the court should

apply ordinary state law principles regarding the formation of contracts. Mine Jewelry Shoppes,

Inc. v. Lise Aagaard Copenahgen, A/S, 240 F.Supp.3d 391, 395 (E.D.N.C. 2017). In North

Carolina, an enforceable arbitration clause requires offer, acceptance, consideration, mutual

assent, and the presence of no valid defenses. Lorenzo v. Prime Comms., L.P., No. 12-CV-69,

2014 WL 3349696, *2 (E.D.N.C. Mar. 31, 2014). In New York, where the Castros reside, a

contract requires an offer, acceptance, consideration, mutual assent, and intent to be bound.

Tonra v. Kadmon Holdings, Inc., 405 F.Supp.3d 576, 583 (S.D.N.Y. 2019). The Castros cannot

show any of these requirements are met. Upon receiving notice of the purported arbitration

"agreement," the “respondents” objected several times. See Castro v. The Bank of New York

Mellon, et al., No. 17-4375, ECF no. 44, Ex. B (E.D.N.Y. Apr. 22, 2019) (collecting letters sent

by BoNYM's and Shellpoint's counsel objecting to any agreement to arbitrate). The District

Court for the Eastern District of New York has, similarly to this Court, already ruled there was

no agreement to arbitrate. The Castros do not identify any new information to upset these

rulings.




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       The Castros' emphasis on whether the arbitration award was challenged puts the cart

before the horse. If there was no agreement to arbitrate, as this Court has repeatedly determined,

the “respondents” were not required to vacate the non-existent arbitration award.

B.     NO NEW EVIDENCE WARRANTS REQUESTED RELIEF.

       The Castros contend they have found new evidence, in the form of a private law passed

by Congress on or about December 3, 2016, the "Bradley Christopher Start Act." According to

the Castros, "[C]ongress determined that the United States . . . by their conduct, as incorporated

in the contracts arbitration clause which constituted acceptance by performance, the same as the

respondents conduct in this case which constituted acceptance by the parties performance is valid

and binding." [Dkt. no. 23, at 7.] The private law attached to the motion states the United States

entered into an agreement with the parties, which included an arbitration clause. [Dkt. no. 23-1,

Section 2.] First, the Castros do not, and cannot, explain how a law passed in 2016 constitutes

new evidence. Second, that two different parties agreed to arbitrate has no bearing on whether

the respondents agreed to arbitrate any disputes with the Castros. Every court to consider that

question, including this one, has already found they did not.

C.     THE MOTION IS NOT TIMELY.

       The Castros admit they came into possession of this "newly discovered evidence" on or

about October 1, 2020. [Dkt. no. 23, at 6.] They provide no explanation why they waited an

additional seven months to make this motion. Without such an explanation, the motion is not

timely filed, regardless of whether it was filed in one year.

D.     LAW OF THE CASE REQUIRES DENIAL OF THE MOTION.

       Lastly, the law of the case doctrine posits that when a court decides upon a rule of law,

that decision should continue to govern the same issues in subsequent stages in the same case.



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Binkley v. Loughran, 714 F.Supp. 776, 778 (M.D.N.C. 1989). This Court has already denied the

Castros' "motion to reconsider," from which the current motion borrows considerably. [See Dkt.

no. 12.]   The Castros’ new evidence was discoverable at the time of the prior motion to

reconsider. The Court denied that motion, and so should deny this as well.

                                       CONCLUSION

       The Castros have pursued this meritless litigation for years across multiple courts. Every

court has held there was no agreement to arbitrate, no valid arbitration award, and that the

Castros are not entitled to recover under that "award." One year after this Court made that same

determination, the Castros move for relief from the judgment, without bringing forth any new

facts, and no explanation for why they waited so long to so move. This Court should deny the

Castros' motion.

Dated: June 1, 2021
                                            AKERMAN LLP

                                    By:     /s/ Bryan Scott
                                            Bryan G. Scott
                                            N.C. State Bar No. 32920
                                            100 North Main Street, Suite 2425
                                            Winston-Salem, NC 27101
                                            Tel. (336) 296-7100
                                            Fax (336) 296-7010


                                            Jason D. St. John, Esq. (admitted pro hac vice)
                                            1251 Avenue of the Americas, 37th Floor
                                            New York, NY 10020
                                            Tel. (212) 880-3800
                                            jason.stjohn@akerman.com
                                            Attorneys for Defendants The Bank of New York
                                            Mellon as Trustee for the Certificate Holders of
                                            CWALT Inc., Alternative Loan Trust 2006-
                                            OA11 Mortgage Pass Through Certificates,
                                            Series 2006-OA11 f/k/a The Bank of New York,
                                            Shellpoint Mortgage Servicing, and Akerman
                                            LLP


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                                 CERTIFICATE OF SERVICE

       I hereby certify that I have this day electronically filed the foregoing RESPONDENTS

THE BANK OF NEW YORK MELLON'S, SHELLPOINT MORTGAGE SERVICING'S

AND AKERMAN LLP'S OPPOSITION TO THE CASTROS' MOTION FOR

RECONSIDERATION OF ORDER with the Clerk of Court using the CM/ECF, which will

send notification of such filing to counsel of record as follows:

       Brian Calub
       McGuire Woods LLP
       201 North Tryon Street, Suite 3000
       Charlotte, NC 28202
       Counsel for Respondent Bank of America, N.A.

       And I hereby certify that I caused the foregoing document to be served via U.S. First

Class Mail on the following non-filing users:

       Mario E. Castro and Magdalena Castro
       419 West Hills Road
       Melville, New York 11747
       Pro Se Plaintiffs


Dated: June 1, 2021
                                                AKERMAN LLP

                                      By:       /s/ Bryan Scott
                                                Bryan G. Scott
                                                N.C. State Bar No. 32920
                                                100 North Main Street, Suite 2425
                                                Winston-Salem, NC 27101
                                                Tel. (336) 296-7100
                                                Fax (336) 296-7010




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